To:
Sent: 3/19/2018 2:52:19 PM
Subject: Fwd: Invitation: Alchemist Dail Stand-up: Weekly from 4pm to 5pm on weekdays

Attachments: invite.ics

From:

Date: Tue, Mar 20, 2018 at 5:47 AM
Subject: Invitation: Alchemist Daily Stand-up io Weekly from 4pm to 5pm on weekdays (UTC)

Alchemist Daily Stand-up: i) SP more details »

Weekly from 4pm to 5pm on weekdays

il All events inthis series: Yes - Maybe - No more options »

https: //www.google.com/calendar/

Google Calendar

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